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12   POINT REYES SEASHORE RANCHERS ASSOCIATION
13
                                  UNITED STATES DISTRICT COURT
14
                                 NORTHERN DISTRICT OF CALIFORNIA
15
     RESOURCE RENEWAL INSTITUTE;
16                                                      Case Number: 4:22-cv-00145-KAW
     CENTER FOR BIOLOGICAL DIVERSITY;
17   and WESTERN WATERSHEDS PROJECT,
                                                        DECLARATION OF ERNEST
18                 Plaintiffs,                          SPALETTA

19   v.
20
     NATIONAL PARK SERVICE, a federal
21   agency,
22                 Defendant,
23
     POINT REYES SEASHORE RANCHERS
24   ASSOCIATION,
25                 Proposed Defendant-
26                 Intervenor.

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     DECLARATION OF ERNEST SPALETTA                                         4:22-cv-00145-KAW
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1           I, ERNEST SPALETTA, under threat of penalty of law and pursuant to 28 U.S.C.
2    § 1746, do hereby declare as follows:
3           1.       I make this declaration on behalf of the Point Reyes Seashore Ranchers
4    Association (“PRSRA”), as well as on behalf of myself and my family, Nichola Spaletta and

5    Ernest Spaletta Jr., in support of proposed intervenors’ Motion to Intervene in the above-

6    referenced case. I am competent to testify about the matters set forth herein and am over 18

7    years of age.

8    Point Reyes Seashore Ranchers Association

9           2.       I am a member and President of the PRSRA that seeks intervention in this case.

10          3.       PRSRA members include families who have owned and operated small ranches

11   within the pristine landscape that is now the Point Reyes National Seashore. Many of the

12   families’ history working their ranches spans back to the 1800s and they are proud to have

13   partnered with the National Park Service to create the Point Reyes National Seashore in the

14   1960s. This partnership has provided our community with the unique opportunity to experience

15   the thriving relationship of traditional animal husbandry, local food production, and

16   undeveloped California coastline.

17          4.       The farmers and ranchers were key to the establishment of the Seashore in the

18   1960’s, with many families choosing to transfer their inherited land to the NPS to ensure it

19   would remain protected from development. In return, upon the Seashore’s establishment, Point

20   Reyes Seashore Ranchers Association families received rights from the federal government to

21   remain on and operate their ranches. This was in recognition of the families’ long and vital

22   contributions to the historical, cultural, agricultural, and environmental attributes of the working

23   landscapes at the Seashore. Since that creation of the Seashore, Association ranches have
     honored this relationship by working with the NPS and the public to maintain the historical,
24
     cultural, and environmental qualities of Point Reyes for the visiting public’s enjoyment.
25
            5.       In February 2016, three special interest groups brought a lawsuit against the NPS
26
     which halted the NEPA process and threatened the rights of PRSRA families to continue to
27
     ranch, live in and earn responsible livelihoods producing dairy and meat in the Seashore.
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     DECLARATION OF ERNEST SPALETTA                                                4:22-cv-00145-KAW
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1    Resource Renewal Institute v. Nat’l Park Serv., Case No. 4:16-cv-00688-SBA (N.D. Cal.).
2    PRSRA members intervened in the lawsuit on the side of the NPS and were involved in
3    discussions that eventually resulted in a settlement requiring NPS to issue five-year interim
4    leases, enabling them to continue their agricultural operations on the Seashore while the NPS

5    undertook the new GMPA/EIS process. The PRSRA itself was a signatory on the eventual

6    settlement agreement, along with its members. Id., Dkt. No. 143. While the interim leases were

7    beneficial, longer term permits are necessary for continued good land stewardship, investments

8    into capital projects (e.g., fences and ranch building repairs) and the ability for the next

9    generation of young ranchers to be able to carry on the ranching tradition. The current lawsuit

10   threatens NPS’s commitment to pursue those long-term leases pursuant to the GMPA/ROD.

11          6.      The PRSRA itself, in addition to its members, has regularly participated via

12   comment letters and other public testimony offered to NPS and other relevant agencies as part

13   of the GMPA/ROD development process. For example, the PRSRA has submitted written

14   comments to the California Coastal Commission (“Commission”) regarding the agency’s

15   consistency review and determination process assessing potential water quality impacts of the

16   GMPA for the Point Reyes and north district of the GGNRA. Attached as Exhibit 1 is a true

17   and accurate copy of the PRSRA’s comments to the Commission, dated January 4, 2021, in

18   response to the Commission’s staff recommendation of “conditional approval” of the GMPA.

19   The PRSRA submitted written comments on the Draft Environmental Impact Statement for the

20   GMPA issued in August 2019. Attached as Exhibit 2 is a true and accurate copy of the

21   PRSRA’s comment letter, dated September 20, 2019. Additionally, the PRSRA and several of

22   its individual members, offered testimony at the Commission’s April 22, 2021 public meeting to

23   discuss the proposed determination. The PRSRA continues to play an active part as an advocate
     on behalf of its members’ interests.
24
     PRSRA Membership
25
            7.      The PRSRA has filed declarations on behalf of some, but not all, ranchers in the
26
     Association at this time in order to provide the Court with a sampling of the nature and various
27
     interests of the PRSRA’s membership.
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     DECLARATION OF ERNEST SPALETTA                                                 4:22-cv-00145-KAW
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1           8.        At this time, membership in the PRSRA includes the following lessees/permit
2    holders (along with associated historic ranches):
3                    A, D & E Ranches – Betty Nunes
4                    B Ranch – Jarrod Mendoza

5                    C & D Ranches – Ernest and Nichola Spaletta

6                    C. Rogers Ranch – Fred and Ginny Rogers

7                    F Ranch – Tim Gallagher

8                    G Ranch – Kevin Lunny

9                    Gallagher Ranch – Robert Giacomini

10                   Home & N Ranches – Gino and Kathy Lucchesi

11                   L Ranch – Robert and Jolynn McClelland

12                   M Ranch – Rich and Jackie Grossi

13                   McFadden Ranch – Mike Giammona

14                   McIsaac & Cheda Ranches – Ted and Rhea McIsaac

15                   Percy Ranch – Paulette Percy

16                   R. Giacomini Ranch – Ralph Giacomini, Jr. and Luke Giacomini

17                   Zanardi Ranch – Louis and Wyatt Zanardi

18   Copies of Point Reyes and north district GGNRA leases/permits are publicly available at the

19   following: National Park Service, Ranching and Dairying Lease/Permits,

20   https://www.nps.gov/pore/getinvolved/planning_ranch_cmp_leases_permits.htm (last visited

21   Apr. 6, 2022).

22   Interest of Spaletta Dairy and Spaletta Family

23          9.        I also have personal interests at stake, and knowledge concerning, this litigation.
     My family has lived on the Point Reyes Peninsula and operated cattle ranches and dairies for
24
     multiple generations. My family’s certified organic ranches are referred to as “C Ranch” and
25
     “D Ranch, pasture A” (collectively, Spaletta Dairy) and operate on approximately 850 total
26
     acres (718 acres on C Ranch, 132 acres on D Ranch, pasture A). C Ranch was first established
27
     in 1859. In 1946, my great aunt and uncle, Thomas and Virginia (née Grossi) Gallagher,
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     DECLARATION OF ERNEST SPALETTA                                                 4:22-cv-00145-KAW
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1    purchased C Ranch, and the Spaletta family has rented it from the Gallagher family since 1955,
2    prior to the Peninsula becoming Point Reyes National Seashore. In 1964, after Thomas passed
3    away, Virginia sold C Ranch to the National Park Service. C Ranch was the second ranch sold
4    to the Park Service in order to create Point Reyes National Seashore. Virginia’s nephew, James

5    Spaletta, continued to rent the land from the Department of Interior after the sale. In 2003,

6    then-Superintendent Don Neubacher rented D Ranch, pasture A to our family, and we have used

7    this land for heifer grazing. Today, the fifth generation of the Grossi-Gallagher-Spaletta family

8    rents the land and operates Spaletta Dairy.

9           10.     After my family conveyed its land to allow the creation of Point Reyes National

10   Seashore (“Seashore”) in 1964, the use of these properties has been governed by long term

11   leases, special use permits and other authorizations negotiated with the National Park Service,

12   for terms of five years. The last five-year special use permit ran from February 1, 2006 through

13   January 31, 2011. From December 1, 2008 through November 30, 2013, D Ranch, pasture A

14   also operated under a five-year special use permit.

15          11.     Thereafter, Spaletta Dairy has been governed by one-year letters of authorization

16   (“LOA”), extending the terms of the lease/permits. The first LOA was issued to us by the Park

17   Service with the promise that they would manage the Tule elk at the Seashore that were coming

18   into our ranch and disturbing our operations. Following that, we were issued LOAs extending

19   the rent and terms and conditions from the prior leases until December 31, 2016, and received

20   assurances from Superintendent Cicely Muldoon that the planning process would proceed and

21   consider a variety of issues, including elk management and the issuance of longer-term leases.

22   Based on these assurances, my family agreed to interim one-year reauthorizations for our

23   ranches because NPS had “committed to move quickly” on a comprehensive planning process
     and anticipated prompt decisions on the longer-term leases. For years, we have waited patiently
24
     for NPS to issue long-term leases and to address the encroachment of the elk onto our dairy
25
     pastures. We are still waiting, given that NPS has continued to offer only short-term
26
     authorizations pursuant to a settlement agreement in a prior case, Resource Renewal Institute v.
27
     Nat’l Park Serv., Case No. 4:16-cv-00688-SBA (N.D. Cal.).
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     DECLARATION OF ERNEST SPALETTA                                              4:22-cv-00145-KAW
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1           12.     Using Holstein and Jersey dairy cows, Spaletta Dairy produces organic milk that
2    is sold to Sierra Organics. Our dairy holds numerous certifications, reflecting our commitment
3    to quality, organic dairy products. We are certified in environmental stewardship by the
4    California Dairy Quality Assurance Program, as well as the National Dairy Farm Program,

5    which recognizes ranchers who practice responsible management of herd health. We are

6    recognized for having a comprehensive nutrient management plan with the California Natural

7    Resources Conservation Services. Spaletta Dairy is organically certified through California

8    Certified Organic Farmers. We also use sustainable and environmentally conscious practices to

9    maintain and improve the land upon which our dairy sits.

10          13.     Spaletta Dairy is a benefit to the landscape, as well as to the agricultural and

11   cultural heritage of the Seashore. My family’s organic dairying practices yield ecological and

12   economic benefits to the Seashore, and enable people to view a working organic dairy farm, in

13   addition to producing organic dairy products for the San Francisco Bay Area and beyond.

14   There are fewer and fewer dairies in Marin County where people are able to view a working

15   dairy farm in this type of cultural landscape. We periodically provide tours of the historic C

16   Ranch dairy, in order to educate the public about how milk makes its way from farm to table.

17   In addition, our large red hay barn is well known to artists, and can be seen in many

18   photographs and paintings of the Seashore landscape. The “Spaletta Plateau” and “Spaletta

19   Ponds” areas, both located on C Ranch, are popular locations for viewing many migrating birds

20   and water fowl throughout the year, and are listed by many birding books as a prime location

21   for birdwatching. We welcome the many birdwatchers that frequent C Ranch year-round in

22   order to pursue their hobby.

23          14.     My family’s dairy contributes to the scenery and working landscape of Point
     Reyes National Seashore. Livestock grazing on the Point Reyes Peninsula has existed for
24
     hundreds of years. Because we operate a dairy on the Peninsula, we are uniquely interested in
25
     maintaining the health and productivity of the land. To that end, we use sophisticated,
26
     sustainable practices to ensure the future of Point Reyes National Seashore. Our operations
27
     ensure that invasive species do not overwhelm the land, and we are continuously making
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1    improvements to protect the land from erosion. We utilize Best Management Practices
2    (“BMPs”) by maintaining roads, watering areas and pastures with culverts, fencing, seeding,
3    and practicing cattle rotation and pasture resting. We also undertake efforts to protect the
4    known rare plant species on C Ranch, including the beach layia, blue coast gilia, Point Reyes

5    meadowfoam, and others. Wild flowers at the Seashore are monitored by NPS staff, and certain

6    rare plant species are flourishing in our cattle pastures.

7            15.     We work closely with NPS range specialists to manage sustainable grazing and

8    other special uses of the land. Specifically, we have undertaken a number of conservation

9    projects, working collaboratively with the National Park Service, for the benefit of our

10   surrounding environment. In particular, we have been forced, out of necessity, to collaborate

11   extensively with the Park Service on fencing and other projects to the benefit of the Tule elk at

12   the Seashore. In the past few years, we have completed three large fencing projects on C

13   Ranch. In 2011, working with Park Service officials, we fenced off wetlands as part of the

14   Luckenbach Fence Project, which provided funding through the Luckenbach Trustee Council to

15   three organic ranches at the Seashore to fence off wetlands in the Drakes Bay Watershed. In

16   some areas, we used barbless wire to protect wildlife, and we lowered fence brace areas to allow

17   for Tule elk crossings. The goal of this project was to protect and/or restore the watershed area

18   and monitor wildlife, including the Common Murre bird, which experienced significant losses

19   resulting from Luckenbach oil spills along the coast of California. We also repaired and

20   replaced 2,300 feet of fencing that was damaged by elk, and we fenced a portion of land to use

21   as a rotational pasture.

22           16.     In addition, employees of Spaletta Dairy make repairs to the fence bordering our

23   ranches, as well as our pastures, almost daily due to impacts from roaming elk who cause
     damage to the fences and pastures. As of October 2010, our documented costs for this damage
24
     totaled $32,354.13, outlined in a letter we sent to Superintended Muldoon. Since then, our costs
25
     for repairing elk damage to the fence have spiraled to tens of thousands of dollars annually. We
26
     also extensively recycle materials used in operation of the dairy, including steel, plastic rope,
27
     bailing twine, wire, glass, and aluminum, in order to maintain a clean and inviting atmosphere
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     DECLARATION OF ERNEST SPALETTA                                                4:22-cv-00145-KAW
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1    for visitors to the Seashore, and to provide a safe environment for the public, livestock, and
2    natural wildlife. We have decreased our herd number, which has lowered our carbon omissions,
3    and we utilize fertilizer year-round. All of our manure practices comply with directives from
4    the San Francisco Bay Regional Water Quality Control Board.

5           17.     My family’s investments in the land and water to feed our livestock are also

6    beneficial to the wide range of wildlife that share the landscape. Livestock grazing is important

7    for maintaining a suitable habitat for plants and animals known to occur here. Removing the

8    livestock will risk decreasing the quality and quantity of the coastal grassland habitat and the

9    many environmental benefits it provides.

10          18.     In addition to making investments in the land and water, my family has made

11   substantial investments in the infrastructure of C Ranch, including repairs to numerous

12   structures on the land, including a large hay barn, main house, hay racks, dam levee, a drain in

13   the horse field, and the feed tanks. We have made repairs to the service roads, fenced the stock

14   ponds, and established water troughs. We have purchased pasture nutrient equipment, new

15   dividers and corrals in the milk barn, a new wash system for the milk tank, organic fence posts

16   and a milk barn compressor, and two pulsators for the milk barn. We have also completed roof

17   repairs on the calf barn.

18          19.     While my family has made substantial investments, we cannot continue to do so

19   without some lease security beyond the current one-year LOAs. We need assurances that we

20   will be able to remain on the land and improve our operations during the pendency of the

21   planning process and any subsequent litigation, and that the elk encroachment problem will be

22   addressed at least on an interim basis during the planning process. Without those assurances,

23   we will be forced to put critical projects on hold and forego large-scale investments in and
     improvements to equipment, buildings, and infrastructure, due to the uncertainty of the leasing
24
     situation, elk management, and the planning process.
25
            20.     Given the potential delay in the ranch management planning process and the
26
     uncertainty surrounding the issuance of future long-term leases, we are unable to sufficiently
27
     plan for expending funds on these types of projects. The length of time needed to recover the
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1    substantial cost of these projects necessitates the security of a longer-term lease. Moreover,
2    many lending institutions, including federal government loan and grant programs, require proof
3    of a long-term lease before they will consider giving money to Spaletta Dairy. Our ability to
4    access capital for conservation projects and business investments is severely limited given that

5    we are unable to present documentation of a long-term lease to potential lenders.

6           21.     I have reviewed Plaintiffs’ Complaint in this lawsuit. Plaintiffs seek to preclude

7    NPS from offering longer-term leases as authorized by the recent General Management Plan

8    Amendment and Record of Decision (“GMPA/ROD”) for the Point Reyes National Seashore.

9    While unclear, it appears Plaintiffs also seek to restrict NPS from utilizing a range of elk

10   management measures considered and authorized by the GMPA/ROD. Either result would be

11   catastrophic for Spaletta Dairy.

12          22.     I understand that NPS intends to manage the burgeoning Tule elk population at

13   the Seashore using a variety of means as provided in the GMPA/ROD. If the Court were to

14   restrict NPS’s ability to manage elk in a meaningful way, it would make managing the ranch

15   unworkable. The Tule elk were reintroduced to the Seashore by the Park Service over our

16   opposition (and that of many other ranchers), and have impacted the dairy’s operations on a

17   daily basis. The elk currently roam on many of the ranches, and each year the elk population

18   increases. They linger in the same areas, overgrazing the land and causing erosion, and do not

19   have any natural predators that would naturally mitigate their population growth or deter

20   encroachment onto ranch pasture lands. Management of the elk is essential to keep the elk

21   herds in their designated wilderness area (approximately 18,000 acres) and out of the Pastoral

22   Zone, which is where the public intended them to remain, per the 1998 Tule Elk Management

23   Plan and Environmental Assessment.
            23.     It is impossible to overstate the problems posed to the ranches and dairies at the
24
     Seashore due to the elk. My family is unsure if we will be able to continue operating our dairy
25
     given the problems presented by the elk and the monetary damages caused by them. If the elk
26
     are able to continue to access cattle pastures into the future, the elk will eventually force the
27
     ranchers out of business, regardless of the duration of any leases issued to the ranchers. We
28
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1    have had issues with the elk for the past 22 years, dating to the spring of 2000, when two elk
2    appeared on our pasture out of the blue. Since then, the elk population has only grown, and
3    there are now well over 200 elk that graze on ranchers’ lands. Given NPS’s decision in the
4    ROD to increase the elk population threshold from 120 to 140, the elk are likely to continue,

5    and likely increase the damage to the fences on our ranches on a daily basis, requiring our

6    immense time and effort to make repairs and causing costly expenditures that are not in our

7    budget. The elk graze on our land, making our cattle nervous, and overtaxing and causing loss

8    of pasture for our cattle. This, in turn, leads to lower milk production by our cows.

9           24.     The elk jump fences we have erected and consume stock water meant for our

10   cattle. We are forced to purchase additional water for our cattle from the Department of

11   Interior, at our own expense. We must do this because the elk consume water from our water

12   sources, leaving an insufficient amount for our cattle. The elk roam freely and trample on the

13   trough pipes, plugging their flow and causing the cattle to run out of water. We must therefore

14   haul water by hand to our cattle in certain fields during the dry months. Because of the damage

15   the elk cause to our irrigation system, we also must repair and replace aluminum pipes.

16          25.     Spaletta Dairy is a sustainable, pasture-based dairy. Though my herd would

17   otherwise have enough food to eat from the land itself, the elk often take resources, including

18   the food, that the cattle rely on. As a result, I am forced to purchase supplemental feed and

19   nutrients for my cattle from other ranches. Aside from the cost associated with purchasing

20   additional feed, this also places my dairy at risk of losing its organic certification, since my

21   cattle are forced to eat food from offsite. As part of the certification, we must graze our animals

22   for at least 120 days during the grazing season, and they must receive at least 30% of their feed,

23   or dry matter intake, from pasture each year. The elk are making these requirements more
     difficult for us to meet. Losing our organic certification would effectively end our business
24
     because organic dairies benefit from higher profit margins and we would not be able to survive
25
     in the current market as a conventional dairy. No conventional, non-organic milk is shipped
26
     from our area, and no trucking company will come to the Seashore to pick up milk from just
27
     one dairy.
28
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                         EXHIBIT 1
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                                    Point Reyes Seashore
                                    Ranchers Association




                                          January 4, 2021
California Coastal Commission
Federal Consistency Program
455 Market Street, Suite 300
San Francisco, CA 94105

          Re: Comments Regarding the Conditional Approval Recommendation for the General
          Management Plan Amendment for the Point Reyes National Seashore and the North
          District of Golden Gate National Recreation Area.


Dear Coastal Commission:


The Point Reyes Seashore Ranchers Association ("the Association") wrote in December to urge
the California Coastal Commission ("CCC or Commission") to fully approve the National Park
Service's Coastal Act Consistency Determination for the General Management Plan ("GMP")
Amendment for the Point Reyes National Seashore and North District of Golden Gate National
Recreation Area (the "Seashore"). The Association is writing as a follow-up to our previously
submitted comments, and urge that the Commission not to adopt the staff recommendation to
only conditionally approve the GMP.


The CCC staff report recommends that the Commission include a condition that the Park
Service provide the Executive Director for review and approval, a water quality assessment plan
for the Drakes Estero, Abbotts Lagoon, and the Pacific Ocean before new leases with ranchers
are finalized. The staff recommendation is inconsistent with the facts in the GMP Amendment,
favorably cited by the staff, that support the effectiveness of ranch land and dairy best
management practices to maintain water quality throughout the Seashore, is contrary to state
law that vest the California Water Resources Board and the Regional Water Quality Control
Boards ("Water Quality Board") with the sole authority to regulate in matters relating to water
quality in this instance, and ignores the Waste Discharge Requirements and related Waivers
approved for dairies by the San Francisco Bay Regional Water Quality Board.


The staff report ignores or dismisses several important points. First, the staff report essentially
ignores that the Park Service has conducted a peer reviewed water quality assessment of best
management practices used in the Drakes Estero, Abbotts Lagoon, and ocean watersheds which

                                                  1

                                                                             Exhibit 1 - Page 001
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is included in the GMP as Appendix L. The peer reviewed analysis is entitled - Coastal
Watershed Water Quality Analysis, "Improved Water Quality in Coastal Watersheds at Point
Reyes National Seashore Associated with Rangeland Best Management Practices, 2000-2013."

Second, the Commission staff report did consider that the GMP has adopted best management
practices required in current and new leases such as fencing, deleting riparian areas from cattle
use, infrastructure for manure management, off-stream drinking water systems for cattle, and
pond restoration for dairy and beef ranch operations to improve water quality based on
monitoring in the Olema, Lagunitas, and Tom ales Bay watersheds. However, the staff report
fails to make the connection that the best management practices that it cites favorably and
used on the ranch lands and dairies in the Olema, lagunitas, and Tomales Bay watersheds, are
also being used on the ranchlands and dairies in the Drakes Estero, Abbotts lagoon, and ocean
watersheds.

Third, the RWQCB adopted requirements for all dairies throughout the region including in the
Drakes Estero, Abbotts lagoon, and ocean watersheds, and already requires them to
implement facility monitoring plans, waste and grazing management plans, and a nutrient
management plan for any application of animal waste to land.

Finally, the Commission staff report apparently assumes that the SFB Water Quality Board has
not done its job and the staff report's call for a water quality monitoring program for the Drakes
Estero, Abbotts Lagoon, and ocean watersheds, is contrary to the state legislation vesting water
quality matters with the State Water Resources Board and Regional Water Quality Control
Boards.

The Staff Recommendation Ignores that the GMP Amendment Will Implement Best
Management Practices that have Proven Effective for Maintaining Water Quality.

The Commission staff report largely ignores the analysis of 13 years of water quality data for
the Drakes Estero, Abbotts Lagoon, and ocean watersheds and the conclusions that best
management practices implemented there over this period resulted in significant improvement
of water quality similar to the improvements documented in the Olema, Lagunitas Creek, and
Tomales Bay watersheds. The peer reviewed Park Service analysis and conclusions are in the
2020 Report "Improved Water Quality in Coastal Watersheds at Point Reyes National Seashore
Associated with Rangeland Best Management Practices, 2000-2013" for the Drakes Estero,
Abbotts lagoon, and ocean watersheds. GMP App. L.

The Water Quality Report concluded that, "While livestock grazing on public lands introduces
fecal coliform bacteria into surface waters, our results further support previous studies showing
that BMPs can dramatically, effectively, and rapidly reduce FIB and increase the probability of
meeting water quality objectives." GMP App. Lat 3.

In fact, the results of the Park Service water quality analysis of best management practices in
the Drakes Estero, Abbotts Lagoon, and ocean watersheds are consistent with water quality

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improvements "associated with grazing BMPs from studies in other watersheds (e.g. Kay et al.
2018, O'Callaghan et al. 2018} and elsewhere within the Point Reyes National Seashore (Lewis
et al. 2019)." GMP App. Lat 21.

The Commission staff report also does not mention the benefits gained by conversion from
conventional to organic dairies that occurred in the mid to late 2000 in the Drakes Estero,
Abbotts Lagoon, and ocean watersheds. As the Park Service Water Quality Report explains:

       "Changes in management not documented in this study could have also contributed to
       reductions in FIB concentrations. This included conversion of the dairies to organic
       operations in the mid to late 2000's (2006 for I and J ranches, 2011 for L Ranch). General
       changes associated with this conversion included ... adherence to number of regulatory
       requirements under the National Organic Program including management to prevent
       runoff of wastes and contaminated waters to adjoining or nearby surface water, ... and
       practices for erosion control and the protection of natural wetlands and riparian areas
       (National Organic Program 200910). Improved pasture management practices related to
       these requirements may have also contributed to observed declines in FIB
       concentrations, for example by increasing use of rotational grazing or ground cover in
       high use areas (see Lewis et al. 2009)." GMP App. Lat 21-22.

There is more than an adequate record and analysis in the Park Service GMP Amendment to
support its conclusion that the GMP Amendment is consistent with the Coastal Act and that
best management practices will protect water quality in the Drakes Estero, Abbotts Lagoon, and
ocean watersheds.

The Commission Staff Report Already Accepted that the Park Service Best Management
Practices Improved Water Quality to Acceptable Levels in the Olema, Lagunitas Creek and
Tamales Bay Watersheds and there is No Basis to Conclude that the Same Practices
Implemented Across the Ridge in the Drakes Estero, Abbotts Lagoon and Ocean Watersheds
Will Not Protect Water Quality.

The Commission staff evaluated the information about range and dairy practices in the Olema,
Lagunitas Creek, and Tamales Bay watersheds and concluded that the, "existing information
resulting from water quality monitoring efforts appears to support the NPS conclusion that in
the Olema and Lagunitas Creek watersheds, implemented grazing and ranching practices have
resulted in improvements to water quality in the Tamales Bay watershed." Staff Report at 40. In
particular, the purpose of the monitoring was to "to assess if watershed enhancement efforts,
such as those related to ranches and cattle grazing, are resulting in water quality
improvements." Staff Report 39-40. The staff cited with approval that:

       "following establishment of the TMDL in 2007 and the focused efforts to separate cattle
       activity from the creeks, a 2016 RWQCB 'report card' indicated that the TMDL fecal
       coliform target was being met in Lagunitas and Olema Creeks (RWQCB 2016). A more
       recent study (Lewis et al. 2019) documented significant (up to 95%) reduction in fecal

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       coliform concentrations in Olema Creek following implementation of 40 grazing best
       management practices (fencing, hard stream crossings, placement of off-stream
       drinking water for cattle), based on monitoring conducted between 2000 and 2017.
       Additional sampling of beaches along Tom ales Bay conducted by Marin County during
       the dry season (April through October) also indicates that water quality standards are
       typically met during the spring and summer months." Staff Report at 40.

If the Park Service were to reject or adopt less stringent best management practices for the
Drakes Estero, Abbotts Lagoon, and ocean watersheds than those applied in the Olema,
Lagunitas Creek and Tamales Bay watersheds, then the Commission staff recommendation to
halt issuance of new leases to ranchers might be justified. But where those best management
practices will be the same, and the practices have been shown to be effective at protecting
water quality to the Commission's staff satisfaction in the Olema, Lagunitas Creek and Tomales
Bay watersheds, there is no justification for only a conditional finding of Consistency with the
Coastal Act, especially when the GMP Amendment contains a peer reviewed analysis that
concludes that the practices applied in the Drakes Estero, Abbotts Lagoon, and ocean
watersheds effectively protect water quality.

The Commission Staff Recommendation is Contrary to the State Legislation Vesting the
Regulatory Authority for Water Quality with the Water Resources Board and Regional Water
Quality Control Boards.

Public Resources Code section 30412(b) emphasizes that the "The State Water Resources
Control Board and the California regional water quality control boards are the state agencies
with primary responsibility for the coordination and control of water quality .... The
commission shall assure that proposed development and local coastal programs shall not
frustrate this section. The commission shall not, except as provided in subdivision (c) [for waste
water treatment plants], modify, adopt conditions, or take any action in conflict with any
determination by the State Water Resources Control Board or any California regional water
quality control board in matters relating to water quality or the administration of water rights."

The Commission and State Water Resources Board have also entered a Memorandum of
Understanding that similarly requires that the Commission, "subject to limited exceptions
regarding wastewater treatment plants, shall not modify, adopt conditions, or take any action
in conflict with any determination by the SWRCB or any RWQCB in matters relating to water
quality or the administration of water rights." MOU Feb. 2000.

The GMP Amendment's water quality best management practices were not prepared in a
vacuum and this is not a case where the State Water Resources Board and the SFB Water
Quality Board have failed to act.

The GMP Amendment explains that the SFB Water Quality Board has worked with the Park
Service to develop best management practices. "Concurrent with FIB monitoring, ranch
operators, NPS, the San Francisco Bay Regional Water Quality Control Board (SFBRWQCB) and

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others collaborated to implement approximately 30 BMPs across the study area in the following
categories: (1) ranch infrastructure improvement, including the installation of loafing barns,
roofs, gutters and piping to manage the location of dairy cattle feeding and loafing, divert
runoff from manured areas and reduce erosive surface area; (2) fencing, to exclude cattle from
streams and erosive areas, or create seasonal or rotational pastures; (3) manure management
to contain manure in storage ponds or distribute it to low-slope fields via pipelines; (4) livestock
water supply to provide alternative off-stream drinking water for cattle; and (5) a pond
restoration involving the repair of a levee to reestablish holding capacity, fencing and piping to
troughs." GMP App. Lat 10.

The ranches and dairies must also comply with stringent water quality management
requirements that govern agricultural nonpoint source pollution. For example, the ranches
must comply with the Grazing Lands and Dairy Conditional Waivers for Waste Discharge
Requirements approved and implemented by the SFB Water Quality Board. Order No. R2-2015-
0031. The dairies on the Seashore, all of which are entirely or partly in the Drakes Estero,
Abbotts Lagoon, or ocean watersheds are governed by the Conditional Waiver. As the SFB
Water Quality Board has explained "A major focus of nonpoint source staff activities in Region 2
has been working with dairies in Marin and Sonoma Counties. We completed inspections and
surveys of all dairies ... In October 2003, the Board issued a general permit for dairies that
were not fully in compliance and a [conditional] waiver of WDRs for those meeting standards"
such as the dairies in the Seashore.
https://www.waterboards.ca.gov/sanfranciscobay/water issues/programs/nps/index.html. The
waiver conditions "requires structural and non-structural management measures for all
confined production areas, land application areas and grazing operations, as well as a site-
specific monitoring program."
https://www.waterboards.ca.gov/sanfranciscobay/water issues/programs/agriculture/CAF.ht
ml.

The dairies are required to file an annual report about their management practices and water
quality monitoring. The SFB Water Quality Board explains that "The objective of the Annual
Report is to provide compliance updates, demonstrate that the dairy is ready for the rainy
season, document required water quality monitoring and actions taken to correct identified
problems, and to demonstrate that each facility is operating in compliance with the
requirements of Order No. R2-2015-0031 (Conditional Waiver)."
https://www.waterboardsca.gov/sanfranciscobay/water issues/programs/agriculture[CA/20
18%20Dairy%20Waiver%20Annual%20Report%20form.pdf. The SFB Water Quality Board is in
the process for dairies that are currently subject to the conditional waivers of enrolling the
dairies into the general waste discharge requirement permits.

The legislature enacted Public Resources Code section 30412(b) giving the Water Boards
authority over water quality matters and limited the Commission to addressing the siting of
water treatment plants for a reason. It is the Water Boards that have the expertise to


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determine best management practices and monitoring requirements to maintain water quality
and the SFB Water Quality Board has done so in detail for the Seashore.



No Where Does the Coastal Act Require a Water Quality Monitoring Program to Achieve
Consistency with the Coastal Act and the Staff Recommendation Fails to Address that
Promoting Agricultural Use is Fully Consistent with the Coastal Act Policy to Promote
Agriculture.

The staff report failed to address Coastal Act policy for land resources, Coastal Act Section
30241, "Prime agricultural land; maintenance in agricultural production. The maximum amount
of prime agricultural land shall be maintained in agricultural production to assure the
protection of the areas' agricultural economy." The Commission emphasizes that: "The Coastal
Act includes provisions to protect and enhance coastal resources and land uses, including
agriculture. Strong protection of agricultural lands and the agricultural economy in the coastal
zone is mandated by the Coastal Act. These protections include requiring that prime agricultural
lands be maintained in agricultural production, restricting the conversion of agricultural lands
to other land uses, conserving agricultural soils, and promoting long-term agricultural
productivity." Coastal Commission, https://www.coastal.ca.gov/agriculture/. The staff report's
glaring omission of addressing consistency of the GMP Amendment with the agricultural policy
of the Coastal Act is of concern because it provides necessary context with the staff report's
evaluation of consistency with other coastal Act policies since the GMP Amendment is designed
to address the continuation of a century of agriculture on the Seashore. As explained in our
December letter, the ranches are essential to many local and regional businesses and Marin
County agriculture is recognized as a leader in California's agricultural sustainability movement
and local food security. The PRSRA family ranches contribute important historical, cultural,
social, educational, scenic, environmental, and economic values that benefit the Seashore. The
importance of the working dairies and ranches on the Seashore has been recognized by the
designation of the Point Reyes Peninsula Dairy Ranches Historic District and the Olema Valley
Dairy Ranches Historic District listed in the National Register of Historic Places.

The Coastal Act does not compel a water quality monitoring program but does require the
maintenance of agriculture. Requiring a monitoring program for the Drakes Estero, Abbotts
Lagoon, and ocean watersheds is not a necessary precondition to issuing ranch leases where
the Park Service has already spent years in cooperation with the SF Bay Water Quality Board,
Marin Resource Conservation District, and other stakeholders identifying and implementing the
ranch land practices and zoning of uses proven to maintain water quality and the SF Bay Water
Quality Board carefully regulates dairy best practices, monitoring, and reporting requirements.

The Commission Should Not Dictate to Federal Land Managers the Implementation of a
Water Quality Monitoring Program.



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The staff recommendation to refuse authorization of dairying and ranching under the GMP
Amendment until the Commission Director approves a water quality monitoring program
injects the Commission into dictating management procedures to federal land managers. We
believe that the requirement exceeds the Commission's authority and improperly interferes
with the management of federal lands.

Conclusion

The dairy and ranching families of the Point Reyes Seashore urge the Commission to concur
with the Park Service's determination that the GMP Amendment is consistent with the Coastal
Act. Moreover, the Commission staff report recommending conditional approval to force the
Park Service to prepare a water quality monitoring plan for the Drakes Estero, Abbotts Lagoon,
and ocean watersheds is not necessary given that the staff ignored the water quality
assessment of best management practices for the Drakes Estero and Abbotts Lagoon
watersheds in Appendix L, and already favorably cited the monitoring conducted for best
management practices in the Olema, Lagunitas Creek, and Tom ales Bay Watersheds under
implementation of the same best management practices that will be used on ranches and
dairies in the Drakes Estero, Abbotts Lagoon, and ocean watersheds. The staff Report
recommendation is also contrary to state law given that it is the Water Resource Board and the
SFB Water Quality Board that have authority over water quality matters and the Boards have
responsibly exercised that authority in authorizing environmentally responsible operation of
the dairies and worked with the Park Service and developed best management practices for
ranchland.

Sincerely,




Ernest Spaletta, President
Point Reyes Seashore Ranchers Association




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